  Case 1:14-cv-01187-TSE-JFA Document 1 Filed 09/09/14 Page 1 of 9 PageID# 1


                                                                       FILED
                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division
                                                                 2011) SEP -9 P 12= 25
BMO HARRIS BANK N.A.
                                                               CLERK US DISTRICT COURT
              Plaintiff,                                         ALEXANDRIA, VIRGINIA

                                                  Civil Action No. ]\\4~CU4I
THE TRULAND GROUP, INC.,                                         ImlJi
Serve: John P. Dedon, Registered Agent
Odin, Feldman, & Pittleman, PC
1775 Wiehle Ave., Ste. 400
Reston, VA 20190

TRULAND SYSTEMS CORPORATION,
Serve: John P. Dedon, Registered Agent
Odin, Feldman, & Pittleman, PC
1775 Wiehle Ave., Ste. 400
Reston, VA 20190

PEL-BERN ELECTRIC CORPORATION,
Serve: John P. Dedon, Registered Agent
Odin, Feldman, & Pittleman, PC
1775 Wiehle Ave., Ste. 400
Reston, VA 20190

BLUMENTHAL KAHN
TRULAND ELECTRIC, LLC,
Serve: Eric Franklin Horvitz,
Registered Agent
10417 Crossing Creek Rd.
Potomac, MD 20854

TECH, INC.,
Serve: John P. Dedon, Registered Agent
Odin, Feldman, & Pittleman, PC
1775 Wiehle Ave., Ste. 400
Reston, VA 20190

THE TRULAND GROUP
OF COMPANIES, CORP.,
Corporation Service Company
2711 Center Rd, Suite 400
Wilmington, DE 19808
  Case 1:14-cv-01187-TSE-JFA Document 1 Filed 09/09/14 Page 2 of 9 PageID# 2




SNOWDEN RIVER CORPORATION,
Serve: John P. Dedon, Registered Agent
Odin, Feldman, & Pittleman, PC
1775 Wiehle Ave., Ste. 400
Reston, VA 20190

TRULAND SERVICE CORPORATION,
Serve: John P. Dedon, Registered Agent
Odin, Feldman, & Pittleman, PC
1775 Wiehle Ave., Ste. 400
Reston, VA 20190

TRULAND WALKER SEAL
TRANSPORTATION, INC.,
Serve: John P. Dedon, Registered Agent
Odin, Feldman, & Pittleman, PC
1775 Wiehle Ave., Ste. 400
Reston, VA 20190

NORTHSIDE TRULAND
ELECTRIC, LLC.
Serve: John P. Dedon, Registered Agent
Odin, Feldman, & Pittleman, PC
1775 Wiehle Ave., Ste. 400
Reston, VA 20190

               Defendants.



             COMPLAINT FOR APPOINTMENT OF RECEIVER BY CONSENT

       COMES NOW BMO Harris Bank N.A. ("Plaintiff"), by counsel, and files this Complaint

against the defendants The Truland Group, Inc., Truland Systems Corporation, Pel-Bern Electric

Corporation, Blumenthal Kahn Truland Electric, LLC, Tech Inc., The Truland Group of

Companies, Corp., Snowden River Corporation, Truland Service Corporation, Truland Walker

Seal Transportation, Inc., and Northside Truland Electric, LLC (collectively referred to as the

"Truland Entities" or "Defendants"), stating as follows:




                                              Page 2
  Case 1:14-cv-01187-TSE-JFA Document 1 Filed 09/09/14 Page 3 of 9 PageID# 3



            1.    Plaintiff is a national banking association with headquarters located in Chicago,

Illinois.

            2.    Defendant The Truland Group, Inc. is a Virginia corporation with a principal

place of business located in Fairfax County, Virginia.

            3.    Defendant Truland Systems Corporation is a District of Columbia corporation

with a principal place of business located in Fairfax County, Virginia.

            4.    Defendant Pel-Bern Electric Corporation is a Maryland corporation with a

principal place of business located in Fairfax County, Virginia.

            5.    Defendant Blumenthal Kahn Truland Electric, LLC is a Maryland limited liability

company with a principal place of business located in Fairfax County, Virginia.

            6.    Defendant Tech Inc. is a Virginia corporation with a principal place of business

located in Fairfax County, Virginia.

            7.    Defendant The Truland Group of Companies, Corp. is a Deleware corporation

with a principal place of business located in Fairfax County, Virginia.

            8.    Defendant Snowden River Corporation is a Maryland corporation with a principal

place of business located in Fairfax County, Virginia.

            9.    Defendant Truland Service Corporation is a Virginia corporation with a principal

place of business located in Fairfax County, Virginia.

            10.   Defendant Truland Walker Seal Transportation, Inc. is a Virginia corporation with

a principal place of business located in Fairfax County, Virginia.

            11.   Defendant Northside Truland Electric, LLC is a Virginia corporation with a

principal place of business located in Fairfax County, Virginia.

                                      JURISDICTION / VENUE




                                                 Page 3
  Case 1:14-cv-01187-TSE-JFA Document 1 Filed 09/09/14 Page 4 of 9 PageID# 4



       12.     For purposes of 28 U.S.C. § 1332(a), Plaintiffis a citizenof Illinois.

       13.     Forpurposes of 28 U.S.C. § 1332(a), Defendants are citizens of the

Commonwealth of Virginia, the State of Maryland, the State of Delaware, or the District of

Columbia. The Plaintiff is a citizen of a state in which no defendant is domiciled or has its

principal place of business. The amount in controversy exceeds $75,000, exclusive of interest

and costs. Therefore this Court has jurisdiction pursuant to 28 U.S.C. § 1332(a)(1).

        14.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) and (2) because

the Defendants all have a principal place of business in Virginia and a substantial part of the

events or omissions giving rise to the claim occurred, and a substantial part of property that is the

subject of this action is situated, in Virginia.

                                           BACKGROUND


        15.     Plaintiff is administrative agent for certain lenders under a certain Credit

Agreement dated as of July 30, 2012, as amended by that certain First Amendment to Credit

Agreement dated as of March 1,2013, and that certain Second Amendment to Credit Agreement

and Release of Guarantor dated as of August 21, 2013 (as amended, the "Credit Agreement" -

Exhibit 1). Plaintiff made a loan to The Truland Group, Inc. ("Loan"), which Loan is evidenced

by the Credit Agreement and a certain Revolving Note dated as of July 30, 2012 ("Note" -

Exhibit 2). and was guaranteed by the other nine Defendants pursuant to certain guaranty

agreements contained in the Credit Agreement at pp. 85-88 thereof. Pursuant to the Loan,

Plaintiff is a secured creditor of the Defendants in excess of $27 million secured by substantially

all of the Defendants' assets, except for vehicles subject to motor vehicle titling laws and certain

potential commercial tort claims, pursuant to a certain General Security Agreement dated as of

July 30, 2012, as supplemented by a certain Supplement to Security Agreement dated May 28,



                                                   Page 4
  Case 1:14-cv-01187-TSE-JFA Document 1 Filed 09/09/14 Page 5 of 9 PageID# 5



2014 (as amended, the "Security Agreement" - Exhibit 3), a certain Pledge Agreement dated as
ofJuly 30, 2012 ("Pledge Agreement" - Exhibit 4), and a certain Deposit Account Control
Agreement dated as ofJuly 30,2012 ("Control Agreement" - Exhibit 5). Plaintiff perfected its
security interests in the Defendants' personal property by way offiling certain UCC-1 Financing
Statements in various jurisdictions ("Financing Statements" - Exhibit 6). The Financing

Statements describe the collateral for the Loan as "All Assets and Personal Property of Debtor."

The description ofthe collateral in the Security Agreement is on pp. 1-3 thereof (see Exhibit 3)

and is as follows:

                (a) Accounts (including Health-Care-Insurance Receivables, if any):
                (b) Chattel Paper;
                (c) Instruments (including Promissory Notes);
                (d) Documents;
                 (e) General Intangibles (including Payment Intangibles and Software,
        Patents, trademarks, tradestyles, copyrights, and all other intellectual property
        rights, including all applications, registration, and licenses therefor, and all
        goodwill of the business connected therewith or represented thereby);
                (f) Letter-of-Credit Rights;
                (g) Supporting Obligations;
                (h) Deposit Accounts;
                (i) Investment Property (including certificated and uncertificated
        Securities, Securities Accounts, Security Entitlements, Commodity Accounts,
        and Commodity Contracts);
                (j) Inventory;
                (k) Equipment (including all software, whether or not the same constitutes
        embedded software, used in the operation thereof):
                (1) Fixtures:
                (m) Commercial Tort Claims (as described on Schedule F hereto or on one
        ormore supplements to this Agreement)1,

1Therewere no Commercial Tort Claimsspecifically identified in the original Security Agreement; however, the
following CommercialTort Claim was identified in the Supplement to Security Agreement dated May 28, 2014:

                 All of Debtor's right, title and interest in and to any and all tort claims arising
                out of, or related to, Debtor's work at the Utah Data Center, also known as the
                Intelligence Community Comprehensive National Cybersecurity Initiative Data
                Center in Bluffdale, Utah, including, without limitation, any tort claims against
                Balfour Beatty/DPR/Big-D, a Joint Venture, Ludvik Electric Co., Siemens
                Corporation, Codale Electric Supply, Inc., and Nedco Supply. Plaintiff does not
                have a lien on any other commercial tort claims such as director and officer
                claims.

                                                        Page 5
  Case 1:14-cv-01187-TSE-JFA Document 1 Filed 09/09/14 Page 6 of 9 PageID# 6



                (n) Rights to merchandise and other Goods (including rights to returned or
       repossessed Goods and rights of stoppage in transit) which is represented by,
       arises from, or relates to any of the foregoing:
                (o) Monies, personal property, and interests in personal property of such
       Debtor of any kind or description now held by the Secured Party or at any time
       hereafter transferred or delivered to, or coming into the possession, custody, or
       control of, the Secured Party, or any agent or affiliate of the Secured Party,
       whether expressly as collateral security or for any other purpose (whether for
       safekeeping, custody, collection or otherwise), and all dividends and distributions
       on or other rights in connection with any such property;
               (p) Supporting evidence and documents relating to any of the above-
       described property, including, without limitation, computer programs, disks, tapes
       and related electronic data processing media, and all rights of such Debtor to
       retrieve the same from third parties, written applications, credit information,
       account cards, payment records, correspondence, delivery and installation
       certificates, invoice copies, delivery receipts, notes, and other evidences of
       indebtedness, insurance certificates and the like, together with all books of
       account, ledgers, and cabinets in which the same are reflected or maintained;
              (q) Accessions and additions to, and substitutions and replacements of,
       any and all of the foregoing; and
              (r) Proceeds and products of the foregoing, and all insurance of the
       foregoing and proceeds thereof.

(the "Collateral"). The Credit Agreement, Note, Security Agreement, Pledge Agreement,

Control Agreement, Financing Statements, and all other related Loan documents are

hereafter referred to as the "Loan Documents."

        16.    On July 23,2014, Defendants each filed with the United States Bankruptcy Court

for the Eastern District of Virginia, Alexandria Division (the "Bankruptcy Court"), voluntary

petitions for reliefunder chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532

(as amended, the "Bankruptcy Code").

       17.     Klinette Kindred ("Trustee") was subsequently appointed chapter 7 trustee for

each of the Defendants.

       18.     On or about September4, 2014, the Bankruptcy Court entered an order lifting the

automatic stay ("Stay Lift Order") as to each of the Defendants to allow the Plaintiff to exercise

its rights under the Loan Documents and applicable law, including the commencement of this

                                              Page 6
  Case 1:14-cv-01187-TSE-JFA Document 1 Filed 09/09/14 Page 7 of 9 PageID# 7



case, and further authorized the Trustee to consent to the relief sought herein. A true and correct

copy of the Stay Lift Order is attached hereto as Exhibit 7. The Trustee consents to the relief

provided for herein. Additionally, sureties XL Specialty Insurance Company and Federal

Insurance Company, which bonded many of the Defendants construction subcontracts, and

which have also been granted relieffrom the stay, have by theircounsel reviewed and approved

the proposed form of consent order appointing receiver.

        19.     Defendants defaulted under the Loan Documents by, inter alia, i) filing voluntary

Chapter 7 petitions, and ii) failing to make mandatory loan repayments required under the Loan

Documents.


        20.     As of July 23, 2014, there was due and owing to Plaintiff from Defendants the

total aggregate amount of not less than $27,543,938.18.

                             COUNT ONE - Appointment of Receiver

        21.     Paragraphs 1 through 20 are restated and incorporated herein by reference.

        22.     Defendants are is in default under the terms of the Security Agreement. The

Security Agreement grants a security interest to Plaintiff in and to all inventory, chattel paper,

accounts, equipment and general intangibles of Defendants, as well as all products and proceeds

thereof, to secure repayment of all indebtedness evidenced under the Note and other Loan

Documents.


       23.     Under the terms of the Security Agreement, Plaintiffshall have, upon the eventof

a default, the right to take possession of all or any partof the collateral identified therein, with

authority to apply proceeds of such collateral to the repayment of the indebtedness owed by
Defendants to Plaintiff.




                                                Page 7
  Case 1:14-cv-01187-TSE-JFA Document 1 Filed 09/09/14 Page 8 of 9 PageID# 8



       24.     Appointment of a receiver is required to conserve and protect Plaintiffs interest

in the collateral, up to, and to the extent of, the indebtedness evidenced by the Note and other

Loan Documents as indicated hereinabove. As shown in the proposed consent order, the intent of

the receivership is to be in rem with respect to the Plaintiffs collateral, and not for appointment

of a receiver for the defendant entities.

       25.      Plaintiff seeks to have Raymond A. Yancey, President of R.A. Yancey &

Associates, Inc. appointed as receiver to collect and preserve all collateral identified under the

Loan Documents, and to apply the proceeds of same to the payment of the indebtedness owed by

Defendants to Plaintiff, and to pay costs of administration of this case. Plaintiff believes, and

therefore avers, that Mr. Yancey is highly qualified to serve as receiver. A true copy of Mr.

Yancey's resume is attached as Exhibit 8, and is incorporated by reference.

        26.     Plaintiff consents to, and hereby requests, waiver of any requirement for the

proposed receiver to post a bond.

                                       PRAYER FOR RELIEF


        WHEREFORE, Plaintiff prays that this Honorable Court enter an order appointing

Raymond A. Yancey, President of R.A. Yancey & Associates, Inc. as receiver to collect,

preserve and apply all collateral granted to Plaintiff by Defendants under the Security Agreement

and other Loan Documents related thereto and that Plaintiff have such other and further relief as

this Court may deem just.




                                               Page 8
 Case 1:14-cv-01187-TSE-JFA Document 1 Filed 09/09/14 Page 9 of 9 PageID# 9




                                                    Respectfully submitted,
                                                    BMO HARRIS BANK N.A.
                                                    By counsel,



                                                    Bruce W. Henry, #SB #23951
                                                    Kevin M. O'Donnell, VSB #30086
                                                    Jeffery T. Martin, Jr., VSB #71860
                                                    Henry & O'Donnell, P.C.
                                                    300 N. Washington Street, Suite 204
                                                    Alexandria, Virginia 22314
                                                    Telephone: 703-548-2100
                                                    Facsimile: 703-548-2105
                                                       bwh@henrvlaw.com
                                                    Counsel for Plaintiff




                                 CERTIFICATE OF SERVICE.


       I hereby certify that on the 87 day of September, 2014, a true and correct copy of this
pleading was served via hand delivery on Klinette Kindred, Chapter 7 Trustee.




                                                       Bruce W. Henry, VSBT#23951
                                                       Kevin M. O'Donnell, VSB #30086
                                                       Jeffery T. Martin, Jr., VSB #71860
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                                              Page 9
